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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                450 Golden Gate Avenue
                                San Francisco, CA 94102
                                    cand.uscourts.gov



                                     March 2, 2020


RE: WhatsApp Inc., et al v. NSO Group Technologies Limited, et al, 3:19-cv-7123-JSC


Default is entered as to Defendants NSO Group Technologies Limited, and Q Cyber
Technologies Limited on March 2, 2020.


                                                Susan Y. Soong, Clerk



                                                by: Thelma Nudo
                                                    Deputy Clerk




REV. 7-19
